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Attorneys for Plaintiff

                      IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF ALASKA

  UNITED STATES OF AMERICA,                )   No. 3:19-cr-00037-SLG-DMS
                                           )
                          Plaintiff,       )   COUNT 1:
                                           )   POSSESSION WITH INTENT TO
          vs.                              )   DISTRIBUTE HEROIN
                                           )     Vio. of 21 U.S.C. § 841(a)(1),
  JAMES BUSTER BOWEN,                      )   (b)(1)(C)
                                           )
                          Defendant.       )
                                           )

                                       INDICTMENT

       The Grand Jury charges that:

                                         COUNT 1

       On or about October 24, 2018, within the District of Alaska, the defendant, JAMES

BUSTER BOWEN, did knowingly and intentionally possess with intent to distribute a

mixture and substance containing a detectable amount of heroin.




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      All of which is in violation of 21 U.S.C. § 841(a)(1), (b)(1)(C).

      A TRUE BILL.

                                         s/ Grand Jury Foreperson
                                         GRAND JURY FOREPERSON



s/ Stephan A. Collins
STEPHAN A. COLLINS
United States of America
Assistant U.S. Attorney



s/ Bryan Schroder
BRYAN SCHRODER
United States of America
United States Attorney


DATE:     3/20/19




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